                                     Supplemental Complaint

                                          Exhibit Index

                                    Bates Stamped Documents

         Documents appear in this order, with Bates-Numbered Slip-Sheets Between them. The
              documents are cited by Bates Number in the Supplemental Complaint.

Document Order Bates Range                    Document Title / Identifier



   81.         DOE00012862-DOE00012863        Unitech Training Academy Memo

   82.         DOE00012873-DOE00012877        Universal Technical Institute Memo

   83.         DOE00013647-DOE00013656        Decision Memo: Tiered Relief Methodology

   84.         DOE00013704-DOE00013707        Heald UCL Memo

   85.         DOE00013708-DOE00013725        Heald Transfer of Credits Memo
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